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Trion James v. Port Authority Police Department, Port Authority of New York and New Jersey,
Edward Cetnar (in his official capacity), Christopher McNerney (in his official capacity), and
Does 1-5
Civil No.: 1:22-cv-02463-PGG




        EXHIBIT G
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M.f. .M 'ORA N.D UM
 EEO Compliance
 Office of Diversity & Inclusion

 CONFIDENTIAL - NOT FOR DISTRIBUTION
 Review and Return

 To:           Chief Security Officer John Bilich
 From:         Natalynn Dunson-Harrison
 Date:         January 15, 2020
 Subject:      Publlc Safety EEO Complaints (World Trade Center Command)

 Copy To:      M. Massiah

As you are aware, the  Office of EEO Compilance.received complaints from two Sergeants
who work at the World Trade Center command (WTC). The complaints alleged that Police
Officer James Zammit violated Port Authority's Equal Employment Opportunity and Sexual
Harassment policies when he directed racial and homophobic slurs at Sergeants Trion
James and Arron Woody; Specifically, Officer Zammit referred to Sergeant James as a
"fucking faggot', referred to Sergeant Woody as a •Nigger" and made a general reference
to "these Niggers" on December 20, 2019 during the Command's holiday party.

During our Investigation, a lieutenant corroborated hearing OfficerZammlt refer to Sergeant
James as a 'fu~ing faggot.• Sergeant Woody reportedly admonished Officer Zammit by
stating "that's not the kind of language we l,!se."

Both a pollcer officer and the lieutenant corroborated hearing Officer Zammlt using the term
whigger" at the party. Witnesses noted that after Officer Za111111it also loudly made a general
reference to "these niggers,• the roorTI Went silent and Lieutenant Harrison as well as
Sergeants Woody and James left the venu,e as opposed to addressing Officer Zammlt and
possibly exacerbating .the situation.

Findings:

Officer Zammit's behavior is egregious and violates the Part Authority's Equal Employment
Opportunity Polfcy, Sexual Harassment Policy, Transgender Inclusion and Non-
Discrimination Policy, Code of Ethics, and General Rules and Regulations for all Port
Authonty Employees as well as Title VI I of the 1964 Civil Rights Act. In addition to these
violations, a major concern Is Officer Zammlt's open animus and disrespect for his superior
officers. He had previously worked with l:,oth Sergeants and knew their rank. Although
homophobic and racial slurs directed toward any colleague Is unacceptable, he was aware
that he was speaking to and about superior officers.




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These types of comments Impact the entire command. They poison the workplace and, if left
unchecked, give the Impression of tacit approval by management and serve to contribute to
creating a dlsrespe¢ul and hostile work environment. They can lead to extemal claims with
the Federal Equal Employment Opportunity Commission (EEOC) and subject the agency to
negative publicity and negative publlcscrutlny.

Recommendations:

It is our recommendation that Officer Zammlt be removed from service as a Port Authority
Police Officer. A great deal of consideration should be given as to whether he can hold a
position of trust within the agency which serves a diverse population and holds all employees
accountable for treating everyone, staff and the general public, with dignity and respect.
Additlonally charges should be brought for the violations previously cited as well as Officer
Zammit's: failure to be cMI and respectful to officers of superior rank;.failure to use tact and
courtesy with the public; his use of abusive or Indecent language; and acting in a way that
reflects unfavorably upon the reputation oHhe Port Authority.




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